
374 U.S. 508 (1963)
BAXLEY
v.
WAINWRIGHT, CORRECTIONS DIRECTOR.
No. 810, Misc.
Supreme Court of United States.
Decided June 17, 1963.
ON MOTION FOR LEAVE TO FILE PETITION FOR WRIT OF HABEAS CORPUS.
Petitioner pro se.
Richard W. Ervin, Attorney General of Florida, and George R. Georgieff, Assistant Attorney General, for respondent.
PER CURIAM.
The motion for leave to proceed in forma pauperis is granted. The motion for leave to file petition for writ of habeas corpus is denied. Treating the papers submitted as a petition for writ of certiorari, certiorari is granted. The judgment is vacated and the case is remanded for further consideration in light of Gideon v. Wainwright, 372 U. S. 335.
